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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                             MARSHALL DIVISION

MONKEYMEDIA, INC.                              §
                                               §
       Plaintiff,                              §
                                               §
v.                                             §       CAUSE NO. 2:17-CV-0460-JRG
                                               §
SAMSUNG ELECTRONICS CO.,                       §
LTD, et al.                                    §
                                               §
       Defendants.                             §

     PLAINTIFF’S MOTION TO COMPEL PRODUCTION OF DOCUMENTS

       Plaintiff MONKEYmedia, Inc. files this Motion to Compel Defendants to produce

documents pursuant to Paragraph 3 of the Discovery Order [Dkt 20-1] regarding the

Samsung Smart TVs and laptop/notebook computers (“Laptops”) listed in Plaintiff’s

infringement contentions.

                               I.      INTRODUCTION

       1.      MONKEYmedia identified Smart TVs and Laptops as accused products in

its Complaint. The list of Smart TVs and Laptops in its infringement contentions has

remained the same. Each relevant claims chart has identified Smart TVs and Laptops as

among the Accused Devices that play streaming media apps in much of the same manner

as the charted devices.     Samsung’s discovery obligations include not only charted

products, but also identified products operating in a similar manner.

       2.      MONKEYmedia has even repeatedly offered to agree to representative

products for Laptops and Smart TVs (as it had on other categories), thereby dramatically

reducing the discovery burden on Samsung. Samsung has refused at every turn and will

not produce the discovery for these devices. Accordingly, MONKEYmedia asks that the


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Court compel Samsung to produce discovery on Smart TVs and Laptops.

                          II.    FACTUAL BACKGROUND

       3.      Plaintiff’s Complaint asserted infringement of three patents against two

general categories of Samsung Devices: Blu-ray players playing Discs in an infringing

manner, and Devices playing streaming media apps in an infringing manner. As to the

’379 and ’226 Patents, the Complaint alleges this latter category includes “devices, such

as smart TVs…laptops, and other personal computers that are capable of playing Apps

with streaming audio and/or visual content …” Complaint ¶¶12,15. The Galaxy Book

laptop series and models of Smart TVs were identified as accused products (¶¶20, 22).

       4.      On September 6, 2017, before Defendants’ answered, Plaintiff provided

disclosures and infringement contentions pursuant to P.R. 3-1.          The infringement

contentions listed several series of Samsung Laptops and Smart TVs as Accused Devices

that played streaming media apps. Plaintiff also provided representative claim charts for

each Patent. For the ’226 and ’379 Patents, the representative for Accused Device charted

for devices playing streaming media Apps was a Samsung Smart Phone. The claim

charts referenced Smart TVs and Laptops as Accused Devices in the streaming media

device category and made clear the charted Phone was representative of the other devices

in this category. Plaintiff also made clear that discovery was needed to determine how

the different devices technically accomplished the claim limitations.

       5.      On October 10, 2017, in response to a letter from Samsung’s counsel

about inconsistencies regarding infringement theories,         Plaintiff served amended

disclosures and corrected these errors. Samsung does not complain about these

corrections. The lists of accused laptop computers and Smart TVs did not change and are



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shown by the excerpt from the infringement contentions attached as Exhibit 1.1

         6.       Samsung’s counsel also complained in the letter that the claim charts did

not specifically chart all devices listed in the infringement contentions, such as Smart

TVs or Laptops. Plaintiff explained again that Smart TVs and Laptops (which were

identified as accused devices in the charts) practiced claims in essentially the same

outward manner as Smart Phones and Tablets, but “the hardware and software (including

source code) of the TV or Computer as well as their design specifications would need to

be analyzed to determine exactly how the TV or Computer carries out the instructions

embedded in the App or other Seamless Expansion Content.”

         7.       Because there were numerous device models listed in the infringement

contentions, Plaintiff asked to meet and confer about having a representative product for

each type of device rather than Samsung having the burden of producing source code and

technical documents for each listed model. Samsung did not respond to this request.

         8.       Two days later, the parties’ counsel met in person about the status.

Samsung did not dispute that the infringement contentions identified the Laptops and

Smart TVs on Exhibit 1. Rather, Samsung argued the infringement contentions were

limited to the exact model of Blu-ray player and exact model of phone shown in the

representative Claim Charts (and to the exact media played). Plaintiff’s counsel again

explained the charted Blu-ray player was simply representative of the models listed in its

infringement contentions (i.e. all models appeared to play in essentially the same manner,

subject to review of source code and technical documents); and the charted phone was

representative of the devices listed in its infringement contentions that played streaming

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     As part of the meet and confer in April 2018 that is discussed below, the parties agreed that Plaintiff
would limit its infringement arguments as to these devices to the ’226 and ’379 Patents and not pursue
infringement of these devices based on the ’158 Patent.

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media apps in essentially the same manner (subject to review of source code and

technical documents). However, to resolve Samsung’s complaint, Plaintiff agreed to

provide additional information in the claims charts as part of its additional disclosures.

       9.      As agreed, Plaintiff added basic information to the claim charts in its

additional disclosures on October 25. For example, Plaintiff included charts of the ’379

Patent and ’226 Patents that charted the Samsung Blu-ray player/media player playing

Netflix and noted the following in a footnote

   “It is also based on playing the Representative App … on a 55” Samsung Smart TV
   and 40” Samsung Tizen Smart TV … Similarly, Samsung Smart TVs having media
   player functionality as in the tested Samsung TVs listed above are believed to
   perform similarly with respect to the claimed methods to the extent they rely on the
   Opera or Tizen Platforms.
                                     …
   MONKEYmedia will also need to examine the hardware and software (i.e. source
   code), as well as the related framework and reference design documents of the
   Samsung Blu-ray Players and Smart TVs to determine exactly how they implement
   the instructions in the App with Seamless Expansion Content to perform the claimed
   methods.

       10.     Plaintiff also provided some additional information (primarily links to

Samsung sites) about the Smart TVs and Blu-ray Players in the charts, but noted that

most of the limitations were software-driven and “MONKEYmedia will need to examine

the hardware and software (i.e. source code), as well as the related framework and

reference design documents of the Samsung Device to determine exactly how the Device

implements these instructions.” Notably, Plaintiff did not change the models of laptop

computers and Smart TVs shown on Exhibit 1 as Accused Devices, and the additions to

the claim charts did not change the infringement contentions.

       11.     After Plaintiff agreed to provide more information to resolve Samsung’s

complaint about insufficiency, Samsung changed the focus of its objections from

objecting to insufficient detail in the charts, to objecting that the October 25 claim charts

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improperly amended Plaintiff’s infringement contentions without leave of Court. Again,

the infringement contentions did not change – they listed the same Laptops and Smart

TVs shown on Exhibit 1, and the additions to the claims charts did not affect the scope of

the infringement contentions. Plaintiff still needed to review the source code and other

technical documents that had not yet been provided. Plaintiff also continued requesting

that the parties confer about using representative products for production of source code

and technical documents. These requests again went unheeded.

       12.     Counsel for the parties continued discussing this issue as well as

Samsung’s failure to produce numerous documents. For example, Samsung had not

produced (and still has not produced) financial information and has only produced source

code and very limited technical information for the Blu-ray Player model and smart

phone model illustrated in the original Claim Charts. In April 2018, Plaintiff’s counsel

sent a lengthy letter to Samsung’s counsel about Samsung’s failure to produce numerous

documents under the Discovery Order and about the issue of infringement contentions.

Plaintiff’s counsel repeated Plaintiff’s position that the infringement contentions had not

been amended for the reasons stated above. He requested that the parties meet and confer

by April 25, 2018 about the infringement contentions and discovery issues, and also

about using a representative product for each type of device.

       13.     Samsung never responded to this letter. It also did not respond to the

request to confer by April 25, 2018. However, the parties finally conferred on May 8,

2018 and had a productive discussion. They agreed, among other things, that Samsung

would start a rolling production of documents, that representative products would be used

for Blu-ray Players, smart phones and tablets, and that the types of media would be Blu-



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ray Discs for Disc Players and Amazon Video, Hulu, Pandora Radio, and Netflix for

streaming media. Samsung’s counsel agreed to reconsider the objection about Smart TVs

and Plaintiff agreed to consider withdrawing Laptops as Accused Devices.

        14.      On May 14, Samsung informed Plaintiff that it would maintain its

objection that Smart TVs were not originally charted, and the October 25 claim charts

improperly amended the infringement contentions without leave of Court.                          For this

reason Samsung is refusing to produce the required documents for the Laptops and Smart

TVs listed in Plaintiff’s infringement contentions in Exhibit 1.2

                         III.     ARGUMENT AND AUTHORITIES

        15.      Infringement contentions serve to give notice of “particular theories of

infringement with sufficient specificity to provide defendants with notice of infringement

beyond that which is provided by the mere language of the patent [claims] themselves.”

STMicroelectronics, Inc. v. Motorola, Inc., 308 F. Supp. 2d 754, 755 (E.D.Tex. 2004).

“It is well settled in the Eastern District that ‘there is no brightline rule that discovery is

permanently limited to the products specifically accused in a party’s [infringement

contentions].’” DDR Holdings, LLC v. Hotels.com, L.P., No. 2:06-cv-42-JRG, 2012 WL

2935172, at *2 (E.D. Tex. July 18, 2012) (quoting Honeywell Int’l, Inc. v. Acer Am.

Corp., 655 F. Supp. 2d 650, 655 (E.D. Tex. 2009)) (alteration in original). A plaintiff

need only “demonstrate that its [infringement contentions] gave [defendant] notice of a

specific theory of infringement and that the products for which it seeks discovery operate

in a manner reasonably similar to that theory.” Honeywell, 655 F. Supp. 2d at 656.




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   Plaintiff is still willing to confer with Samsung about using representative products for Laptops and
Smart TVs (as agreed for other categories).

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        16.      Here, MONKEYMedia expressly identified Smart TVs and Laptops in its

Complaint, in its infringement contentions as shown in Exhibit 1 and as Accused Devices

in its claim charts. It is undisputed that Samsung Laptops and Smart TVs, just like smart

phones and tablets, play one or more of the streaming apps at issue. How these apps play

on the different types of devices is dictated by the source code of the devices and

MONKEYmedia needs to review the source code and technical documents of the

devices. The scenario that claim charts can be supplemented after reviewing this material

without being an amendment of infringement contentions is expressly contemplated by

Paragraph 3(a)(i) of the Discovery Order. This same logic applies to the additions made

by Plaintiff to the October 25 Claims Charts.

        17.      Samsung has known all along which models of Laptops and Smart TVs

are accused by Plaintiff and the manner of infringement. Simply because Plaintiff agreed

to add more detail to claim charts, does not mean Plaintiff improperly “amended” its

infringement contentions. Samsung is stonewalling and should be required to produce

discovery on these products.3

                                           IV.     PRAYER

        For the foregoing reasons, Plaintiff MONKEYmedia respectfully requests this

Court to compel Samsung to produce the documents described above. Plaintiff further

requests such other relief to which it may show itself to be justly entitled.




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     In an abundance of caution, Plaintiff anticipates filing a Motion for Leave to Amend Infringement
Contentions in the event the Court determines that Laptops and Smart TVs are not within the Accused
Products and that the additional information added in in the October 25 claim charts on October 25, 2017 is
an amendment of infringement contentions that requires leave of Court pursuant to P.R. 3-6(b). Samsung
has stated it will oppose that motion.

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Dated: May 22, 2018                Respectfully submitted,

                                    By: /s/Steven D. Smit
                                    Steven D. Smit
                                    State Bar ID No. 18527500
                                    ssmit@gdhm.com
                                    Matthew C. Powers
                                    State Bar ID No. 24046650
                                    mpowers@gdhm.com
                                    William Christian
                                    State Bar ID No. 00793505
                                    wchristian@gdhm.com

                                    GRAVES, DOUGHERTY, HEARON &
                                    MOODY, P.C.
                                    401 Congress Avenue, Suite 2200
                                    Austin, Texas 78701
                                    (512) 480-5600 Telephone
                                    (512) 480-5853 Telecopier

                                    Claire Abernathy Henry
                                    State Bar No. 24053063
                                    E-mail: claire@wsfirm.com
                                    Andrea L. Fair
                                    State Bar No. 24078488
                                    E-mail: andrea@wsfirm.com
                                    WARD, SMITH & HILL, PLLC

                                   ATTORNEYS FOR PLAINTIFF
                                   MONKEYMEDIA, INC.




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                         CERTIFICATE OF CONFERENCE

In compliance with Local Rule CV-7(h), Steve Smit and Claire Henry, lead and local
counsel for Plaintiff, conferred with Mark Fowler and Melissa Smith, lead and local
counsel for defendants, on May 8, 2018 by phone in a good faith attempt to resolve the
matter without court intervention. The parties continued to discuss these issues via email
correspondence on at least two more occasions. The parties could not an reach agreement
because, despite on-going discussions and meet and confers for over two months,
defendants are refusing to produce the requested documents. Discussions have
conclusively ended in an impasse, leaving an open issue for the Court to resolve.

By:   /s/Steven D. Smit
Lead Trial Counsel for Plaintiff

By:    /s/ Claire Abernathy Henry
Local Counsel for Plaintiff

                            CERTIFICATE OF SERVICE

       I hereby certify that on this 22nd day of May, 2018, I electronically filed the
foregoing with the Clerk of Court using the CM/ECF system which will send notification
of such filing to counsel of record for Defendants as follows:

       Brian Erickson                                       Mark Fowler (pro hac vice)
       brian.erickson@dlapiper.com                          mark.fowler@dlapiper.com
       Jeffrey R Cole                                       Aaron Wainscoat (pro hac vice)
       jeff.cole@dlapiper.com                               aaron.wainscoat@dlapiper.com
       DLA Piper LLP (US)                                   Erik R. Fuehrer (pro hac vice)
       401 Congress Avenue Suite 2500                       erik.fuehrer@dlapiper.com
       Austin, TX 78701                                     Jonathan Hicks (pro hac vice)
                                                            jonathan.hicks@dlapiper.com
       Melissa R. Smith                                     DLA Piper LLP (US)
       melissa@gillamsmithlaw.com                           2000 University Avenue
       State Bar No. 24001351                               Palo Alto, CA            94303-2215
       GILLAM & SMITH LLP
       303 S. Washington Ave
       Marshall, Texas 75670



                                                    /s/Steven D. Smit




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Product                  ’158 Claims    Direct Induce   ’379 Claims          Direct Induce   ’226 Claims Direct Induce
                         Infringed                      Infringed                            Infringed
Samsung laptop           37, 40         Y      Y        21-27                Y      Y        1-6           Y    Y
computers -              (method                        (computer                            (computer
Samsung laptop           claims)                        readable media                       readable
computers sold since     (infringement                  claims                               media
March 2013 and           depends on                      (infringement                       claims
laptop computers that    app or Digital                 depends on app or                    (infringement
otherwise allow for      Download and                   Digital Download                     depends on
the simultaneous         type of                        and type of                          app or
storage and playback     Seamless                       Seamless Expansion                   Digital
of music, movies,        Expansion                      Content being                        Download
videos, television       Content being                  played when used                     and type of
shows, and other         played)                        with touch screen or                 Seamless
continuous play                                         voice control remote                 Expansion
media content in         41 (method     Y     Y         or other device that                 Content       Y    Y
conjunction with         claim)                         does not require                     being played)
digital downloads        (infringement                  pushing a button to
(such as movies) and     depends on                     access seamless                       7-12
apps allowing for        App or Digital                 expansion content))                  (method
seamless expansion       Download and                                                        claims
that are pre-loaded or   type of                                                             (infringement
can be downloaded        Seamless                                                            depends on
from the Samsung         Expansion                                                           app or
App Store or other       Content being                                                       Digital
app stores such as       played when                                                         Download
Google Play Store or     used with                                                           and type of
other websites.          touch screen                                                        Seamless
These include            or voice                                                            Expansion
ATIV Notebook            control remote                                                      Content
Series (including        or other                                                            being played)
Notebook 7, 7 Spin,      device that



                                                                                                                3007309.1
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8, 9 and 9 Pro),      does not
Notebook Odyssey      require
Series, Galaxy Book   pushing a
Series; Chromebook    button to
Series.               access
                      seamless
                      expansion
                      content)

Product                ’158 Claims    Direct Induce   ’379 Claims          Direct Induce   ’226 Claims Direct Induce
                       Infringed                      Infringed                            Infringed
Samsung Smart TVs 37, 40              Y      Y        21-27                Y      Y        1-6           Y    Y
- Smart TVs that       (method                        (computer                            (computer
allow for the          claims)                        readable media                       readable
simultaneous storage (infringement                    claims                               media
and playback of        depends on                      (infringement                       claims
music, movies,         app or Digital                 depends on app or                    (infringement
videos, television     Download and                   Digital Download                     depends on
shows, and other       type of                        and type of                          app or
continuous play        Seamless                       Seamless Expansion                   Digital
media content in       Expansion                      Content being                        Download
conjunction with       Content being                  played when used                     and type of
digital downloads      played)                        with touch screen or                 Seamless
(such as movies) and                                  voice control remote                 Expansion
apps allowing for      41 (method     Y      Y        or other device that                 Content       Y    Y
seamless expansion     claim)                         does not require                     being played)
that are pre-loaded or (infringement                  pushing a button to
can be downloaded      depends on                     access seamless                       7-12
from the Samsung       App or Digital                 expansion content)                   (method
App Store, Google      Download and                                                        claims
Play Store or other    type of                                                             (infringement
websites through       Seamless                                                            depends on
Samsung’s “Smart       Expansion                                                           app or


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                                                                                                              3007309.1
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Hub” feature. These     Content being                                                 Digital
Smart TVs include       played when                                                   Download
the Samsung             used with                                                     and type of
MU9000 series,          touch screen                                                  Seamless
MU8500 series,          or voice                                                      Expansion
MU7500series,           control remote                                                Content
MU7000 series,          or other                                                      being played)
MU6500 series,          device that
MU6300 series,          does not
Q65Q7F series,          require
KU6250 series,          pushing a
KU6290 series, 9-       button to
Series KS9000, 8-       access
Series KS8000,          seamless
JS9000 Series,          expansion
JS8500 Series,          content)
JU7500 series,
HU9000 series,
H7150 Series, H6400
Series, H6350 Series,
F9000 Series, F8000
Series and other
Smart TVs having the
same or similar
functionality with
respect to the ’226
and/or ’379 patents.
Product           ’158 Claims            Direct Induce ’379 Claims      Direct Induce ’226 Claims     Direct Induce
                  Infringed                            Infringed                      Infringed
Samsung Smart TVs 37, 40 , 41            Y      Y      21-27            Y      Y      1-6             Y      Y
having “Smart     (method                              (computer                      (computer
Interaction”      claims)                              readable media                 readable
technology -      (infringement                        claims                         media


                                                   3
                                                                                                             3007309.1
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Samsung Smart TVs        depends on                   (infringement                  claims
having “Smart            app or Digital              depends on app or               (infringement
Interaction”             Download and                Digital Download                depends on
technology that          type of                     and type of                     app or
enables the viewer to    Seamless                    Seamless Expansion              Digital
operate the TV and       Expansion                   Content being                   Download
access content           Content being               played)                         and type of
(including, upon         played)                                                     Seamless
information and                                                                      Expansion
belief, Seamless                                                                     Content       Y      Y
Expansion content)                                                                   being played)
without pushing a
button, either through                                                                7-12
hand gestures or                                                                     (method
voice commands.                                                                      claims
These include                                                                        (infringement
Samsung F 7/8/9                                                                      depends on
series SMART TV                                                                      app or
                                                                                     Digital
                                                                                     Download
                                                                                     and type of
                                                                                     Seamless
                                                                                     Expansion
                                                                                     Content
                                                                                     being played)




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                                                                                                          3007309.1
